Case 5:14-cv-12051-JEL-RSW ECF No. 1, PagelD.1 Filed 05/22/14 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

UNITED STATES OF AMERICA § Claim No: 1997412638
§
VS. §
3
Karen V. Hawkins
COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

1. This Court has jurisdiction over the subject matter of this action pursuant to Article II,
Section 2, U.S. Constitution and 28 U.S.C. § 1345.

Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this
Court and may be served with service of process at 25255 Grand River Avenue Apartment 221,
Redford, Michigan 48240.

The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $2,083.57
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $4,021.99

Accrued Interest

C. Administrative Fee, Costs, Penalties $68.72

D. Credits previously applied (Debtor payments, $0.00

credits, and offsets)

 

 

 

 
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E. Attorneys fees $0.00
Total Owed $6,174.28

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate
of Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 8% per annum.

Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A, For the sums set forth in paragraph 3 above, plus prejudgment interest through the date
of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §

1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmaniaw.com

 
 

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“3.§. DEPARTMENT OF EDUCAT:
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Name: Karen V. Hawkins

Address: 18951 Shiawassee Dr
Detroit, MI 48219
SSN No: oo

Total debt due United States as of 5/30/97: $3,316.55

I certify that U.S. Department of Education records show that the
debtor named above is indebted to the United States in the amount
stated above, plus additional interest on the principal balance of
$2,083.57 from 5/30/97 at the annual rate of 8.00%. Interest accrues on
the principal amount of this debt at the rate of $0.46 per day.

The claim arose in connection with a Government insured or
guaranteed loan made by a private lender and assigned to the United
States.

On 6/27/88 the debtor executed promissory note(s) to secure loan(s)

from First American Savings, Inc., Tucson, AZ under loan guaranty

programs authorized under Title T1V-B of the Higher Education Act of i
1965, as amended, 20 U.S.C, 1071 et.seq (34 C.F.R. part 682). The

holder demanded payment according to the terms of the note(s) and on Pe
5/17/89 the debtor defaulted on the obligation, |

Pursuant to 34 C.F.R. 682.202 and/or terms of the promissory note(s)
the holder(s) capitalized interest accrued to the original lender in the
amount of $147.57, thereby increasing the principal balance due

to $2,083.57.

After application of the last voluntary payment of $0.00 which was
received on N/A the debtor now owes the following:

Principal: $2,083.57
Interest: $1,194.26
Administrative/Collection Costs: $38.72
Penalties: . $0.00

CERTIFICATION: Pursuant to 28 USC Section 1746, I certify under
penalty of perjury that the foregoing is true and correct.

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Litigation Branch
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